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1    Andrew J. Van Ness, Esq.
     Nevada Bar No. 9709
2    HUNTER PARKER LLC
3    3815 S Jones Blvd, STE 1A
     Las Vegas, Nevada 89103
4    (702) 686-9297
     hunterparkerllc@gmail.com
5    Attorney for Debtor
6

7                                UNITED STATES BANKRUPTCY COURT

8                                            DISTRICT OF NEVADA

9
     In re:                                                  Case No18-15551-LEB
10
     HCB ENTERPRISES, LLC,                                   Chapter 11
11

12                                                           Hearing Date: 10/23/2018
                       Debtor                                Hearing Time: 9:30 AM
13

14          APPLICATION FOR ORDER UNDER 11 U.S.C §§ 327(a), 328 AND 329 AND
15   FED R BANKR.P. 2014 AND 2016 AUTHORIZING THE EMPLOYMENT AND RETENTION
      OF ANDREW J. VAN NESS, ESQ. OF HUNTER PARKER, LLC AS ATTORNEY FOR THE
16            DEBTOR-IN-POSSESSION UNDER AN HOURLY FEE AGREEMENT

17            The above captioned Debtor hereby applies to this Court (the "Application") for an order
18   pursuant to 11 U.S.C. §§ 327(a), 328 and 329 and Rules 2014 and 2016 of the Federal Rules of
19
     Bankruptcy Procedure (the "Bankruptcy Rules") authorizing the employment and retention of
20
     ANDREW J. VAN NESS, ESQ of the firm HUNTER PARKER, LLC. (“AJV”) as counsel for the
21
     Debtor. In support of this Application, the Debtor relies on the Affidavit and Statement of ANDREW
22

23   J. VAN NESS sworn to on September 17, 2018, which is attached hereto as Exhibit A, (the "Van Ness

24   Affidavit"). In further support of this Application, the Debtors respectfully represent as follows:

25
              1.     An order for relief was entered herein under Chapter 11 of Title 11, United States
26
     Code, on September 17, 2018.
27
              2.     No Trustee has been appointed and Debtor acts as Debtor-in-Possession herein. Debtor
28
     is not sufficiently familiar with the rights and duties of debtor-in-possession as to be able to plan and

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1
     conduct proceedings without the aid of competent counsel. Specifically, the retention of attorneys is
2
     necessary in connection with the following matters:
3
                 (a) the examination of preparation of records and reports as required by the Bankruptcy
4
                    Code, Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rules;
5
                 (b) the preparation of applications and proposed orders to be submitted to the Court;
6
                 (c) the identification and prosecution of claims of action assertable by Applicant on behalf
7
                    of the estate herein;
8                (d) the examination of proofs of claim anticipated to be filed herein and the possible
9                   prosecution of objections to certain of such claims;
10               (e) advising the Debtors and preparing documents in connection with the contemplated
11                  ongoing operation of the Debtors business, if any;
12               (f) assisting and advising the Debtors in performing other official functions as set forth in
13                  Section 521, et seq., of the Bankruptcy Code; and
14               (g) advising and preparing a Plan of Reorganization, Disclosure Statement, and related
15                  documents, and confirmation of said Plan, as provided in Section 1101, et. seq., of the
16                  Bankruptcy Code.
17
            3.      The Debtor has conferred with, and now desires to retain and employ, ANDREW J.
18

19   VAN NESS, ESQ., as its attorney under an hourly retainer to perform all the above-described legal

20   services necessary and desirable in the administration and reorganization of this estate.
21          4.      The Debtor has selected attorney ANDREW J. VAN NESS, ESQ. because of his
22
     experience chapter 11 and an affordable fee structure, and knowledge of his firm’s members’ in the
24
     field of bankruptcy, reorganization, and debtor’s and creditor’s rights and his success in another
24
     chapter 11 case. Accordingly, the Debtor believes that the attorney is well qualified to represent it in
25

26   this Chapter 11 reorganization case.

27          5.      Debtor has agreed that Andrew J. Van Ness, Esq. of Hunter Parker LLC shall be

28   compensated for services at the following hourly rates described in the retention agreement as


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1    EXHIBIT B. This basis of compensation is expressly authorized pursuant to Sections 328(a) and 331
2    of the Bankruptcy Code.
3
            6.      ANDREW J VAN NESS, ESQ., [has] indicated his willingness to act on the Debtor’s
4
     behalf and to be compensated in accordance with the terms and conditions set forth in Paragraph 5
5
     herein, and as set forth in the parties’ retainer agreement attached hereto and incorporated herein as
6
     Exhibit B.
7
            7.      No professional person will be paid without court approval unless otherwise permitted
8
     by the Bankruptcy Code.
9
            8.      To the best of applicant’s knowledge, ANDREW J. VAN NESS, ESQ. and the
10
     members and associates of his firm do not have any connections with the Debtor, [their] creditors, or
11
     any other party in interest, or their respective attorneys or accountants, the United States Trustee, or
12
     any person in the office of the United States Trustee.
13
            9.      The Debtor’s has been advised that all fee applications shall include a written statement
14
     by the debtor that the debtor has reviewed all billing statements, indicating any objections it may have,
15
     and that if the debtor is unwilling to provide such a statement, the professional shall certify that the
16
     bill was provided to the debtor and the debtor was informed of this requirement, and the debtor has
17
     declined to comply.
18
            10.     Attorney received a flat fee by the Debtor for pre-petition services rendered, in the
19
     amount of $21,717.00, which $1,717.00 was used to pay for the filing fee. The flat fee compensated
20
     attorney for pre-petition services. The pre-petition services referenced above, have been paid in full
21
     and Attorney does not have any pre-petition claims for fees against the Debtor.
22
            11.     The Applicant has agreed to pay an hourly fee retainer to Andrew J. Van Ness of
24
     Hunter Parker LLC for post-petition services rendered in the Chapter 11 case, subject to court
24
     approval with a maximum post-petition fee of $15,000.00. Applicant has also agreed to pay all direct
25
     costs incurred by Attorneys in this Chapter 11 case.
26
            WHEREFORE, Debtor request the entry of an order authorizing it to employ and retain
27
     ANDREW J. VAN NESS, ESQ. pursuant to and under an hourly fee retainer on the terms and
28


                                                    -3-
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1
     conditions recited above, to represent it in this Chapter 11 case, and for such other and further relief as
2
     the Court deems just and proper under the circumstances.
3

4    Dated: November 8, 2017
5
     /s/ Shaun Martin
6    Shaun Martin
     HCB Enterprises, LLC
7    Its Manager
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1                                            PROPOSED ORDER
2

3

4

5

6    Andrew J. Van Ness, Esq.
7    Nevada Bar No. 9709
     HUNTER PARKER LLC
8    3815 S Jones Blvd, STE 1A
     Las Vegas, Nevada 89103
9    (702) 686-9297
     hunterparkerllc@gmail.com
10
     Attorney for Debtor
11

12                               UNITED STATES BANKRUPTCY COURT

13                                          DISTRICT OF NEVADA
14
     In re:                                                Case No.: 18-15551-LEB
15

16   HCB ENTERPRISES, LLC,                                 Chapter 11

17                                                         Hearing Date: 10/23/2018
                       Debtor                              Hearing Time: 9:30 AM
18

19
                 ORDER UNDER 11 U.S.C. §§ 327(a), 328 AND 329, FED. BANKR. P. 2014
20               AND 2016 AUTHORIZING THE EMPLOYMENT AND RETENTION OF
                      ANDREW J. VAN NESS, ESQ OF HUNTER PARKER LLC
21                             AS ATTORNEY FOR THE DEBTOR
22

24             Upon the application (the “Application”) of the above captioned Debtor(s) (the “Debtor(s)”)

24   for the entry of an order pursuant to 11 U.S.C. § 327(a), 328 329, and 331, Rules 2014 and 2016 of the

25   Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) authorizing the employment and
26   retention of Andrew J. Van Ness, Esq. of Hunter Parker as counsel for the Debtor(s); and upon the
27
     Affidavit and Statement of Andrew J. Van Ness, Esq., made on September 17, 2018 (the “Van Ness
28
     Affidavit”); and the Court being satisfied with the representations made in the Application and

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1    affidavit of Andrew J. Van Ness, Esq. represents no interest adverse to the Debtor(s) estates with
2    respect to the matters upon which Andrew J. Van Ness, Esq. is to be engaged, that Andrew J. Van
3
     Ness, Esq. is a “disinterested person” as that term is defined in section 101(14) of the Bankruptcy
4
     Code, as modified by section 1107(b) of the Bankruptcy Code, and that Andrew J. Van Ness’s
5
     appointment is necessary and is in the best interests of the Debtor(s) estates, creditors and other
6

7    parties-in-interest; and upon the record of the hearing held on the Application; and it appearing that

8    proper and adequate notice of the Application has been given and that no other or further notice is

9    necessary; and after due deliberation thereon; and good and sufficient cause appearing therefore,
10
            IT IS HEREBY ORDERED that the Motion is GRANTED; and
11
            IT IS FURTHER ORDERED that Pursuant to 11 U.S.C. §§ 327(a), 328 and 329 and
12
     Bankruptcy Rules 2014 and 2016, the Debtor is authorized to employ and retain AJV as its attorneys
13
     to perform the services set forth in the Application and Fee Agreement, a copy of which is attached to
14

15   the Application as Exhibit B; and

16          IT IS FURTHER ORDERED that the Hourly billing structure described in the Fee
17   Agreement is hereby approved pursuant to section 328 of the Bankruptcy Code; and
18
            IT IS FURTHER ORDERED that Andrew J. Van Ness, Esq. shall be compensated in
19
     accordance with the procedures set forth in sections 330 and 331 of the Bankruptcy Code and such
20
     Bankruptcy Rules and Local Rules as may then be applicable, from time to time, and such procedures
21

22   as may be fixed by order of this Court; and

24          IT IS FURTHER ORDERED that Andrew J. Van Ness, Esq. is authorized to file interim fee

24   applications as necessary; and
25          IT IS FURTHER ORDERED that the approval requirements under Local Rule 9021 are
26
     waived; and
27

28


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1           IT IS FURTHER ORDERED that this Court retains jurisdiction to hear all matters relating to
2    or arising from the entry of this Order.
3
     Submitted by:
4
     By /s/ Andrew J. Van Ness
5    Andrew J. Van Ness #9709
     Attorney for Debtor
6

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1    ALTERNATIVE METHOD re: RULE 9021:
2

3           In accordance with LR 9021, counsel submitting this document certifies that the order

4           accurately reflects the court's ruling and that (check one):

5           ____    The court has waived the requirement set forth in LR 9021(b)(1).
6           ____    No party appeared at the hearing or filed an objection to the motion.
7
            ____    I have delivered a copy of this proposed order to all counsel who appeared at the
8
            hearing, and each has approved or disapproved the order, or failed to respond, as indicated
9
            below [list each party and whether the party has approved, disapproved, or failed to respond to
10

11          the document]:

12          ____    I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order

13          with the motion pursuant to LR 9014(g), and that no party has objected to the form or content
14
            of the order
15
     I declare under penalty of perjury under the laws of the State of Nevada that the Foregoing is true and
16
     correct.
17
     /s/ Andrew J. Van Ness
18
     Andrew J. Van Ness, Esq.
19   Attorney for Debtor

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1                                                    EXHIBIT A
2    HUNTER PARKER LLC
3    Andrew J. Van Ness, Esq.
     Nevada Bar No. 9709
4    3815 S Jones Blvd, STE 1A
     Las Vegas, NV 89103
5    (702) 686-9297
     hunterparkerllc@gmail.com
6    Attorneys for the Debtors
7    And Debtors-in-Possession

8                                 UNITED STATES BANKRUPTCY COURT

9                                             DISTRICT OF NEVADA
10
     In re:                                                   Case No.: 18-15551-LEB
11

12   HCB ENTERPRISES, LLC,                                    Chapter 11

13                     Debtor,                                VERIFIED STATEMENT PURSUANT TO
                                                              RULE 2014 OF ANDREW J VAN NESS,
14                                                            ESQ.
15
                   STATE OF NEVADA
16
                   COUNTY OF CLARK
17
              ANDREW J. VAN NESSS, ESQ., declares, under penalty of perjury, the following:
18
     I am an attorney duly admitted to practice before this Court, and am counsel of record for HCB
19

20   ENTERPRISES, LLC.

21            1.     I have personal knowledge of the facts set forth in this Affidavit, except to those facts
22   stated on information and belief, which I believe to be true. If called as a witness, I would be
24
     competent to testify to the facts set forth in this Affidavit.
24
              2.     This is not a complex case and a Plan will be filed before the 341 meeting.
25
              3.     It is the policy of my firm to require a retainer prior to any work being completed for
26
27   Chapter 11 Bankruptcy cases.

28            4.     Additionally, work is billed under an hourly fee arrangement plus any direct expenses.


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1           5.      The Debtor paid an initial pre-petition retainer of $21,717.00 for pre-petition services
2    rendered in preparation of the Debtor’s chapter 11 case. Of which the filing fee of $1,717.00 was paid
3
     from the retainer.
4
            6.      Since that time, the Debtor has not paid any other fees to my firm.
5
            7.      In this matter my hourly fee will be $350.00 per hour. I am the only member of my
6

7    firm, and on occasion I do associate with other counsel for litigation matters.

8           8.      For the entire case, absent any litigation, I don’t expect post-petition amounts to total

9    more than $15,000.00 for this case.
10
            9.      The pre-petition services referenced above, have been paid in full and I do not have any
11
     pre-petition claims for fees against the Debtor.
12
            10.     As of the Petition Date no amounts of the pre-petition retainer remain in trust.
13
            11.     No agreements exist between myself or any other person or entity for division of the
14

15   compensation prayed for.

16          12.     My firm and myself are disinterested parties under the Bankruptcy Code.
17          13.     Accordingly, I have not represented the Debtor in any previous matters and I do not
18
     have any pre-petition claims against the debtor. I have only been retained to represent the Debtor in
19
     this Chapter 11 case before this Court. The Debtor is expected to hire Howard & Howard litigation
20
     counsel regarding its claims against Dickey’s Barbecue Restaurants, Inc. in an adversary proceeding.
21

22          14.     I do not have any known connections between any of the Debtor creditors, any other

24   party in interest, their respective attorneys and accountants, the United States trustee, or any other

24   person employed in the office of the United States trustee.
25          I declare under penalty of perjury that the foregoing is true and correct.
26
     Executed on September 17, 2018
27
     /s/ Andrew J. Van Ness
28   Andrew J. Van Ness, Esq.


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1                                    EXHIBIT B
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1                                     CERTIFICATE OF SERVICE
2           I HEREBY CERTIFY under penalty of perjury that true and correct copies of the following
3
     were delivered via CM/ECF System and by US Mail First Class Postage Prepaid at Las Vegas,
4
     Nevada on September 17, 2018, and properly addressed to the following:
5
     CM/ECF:
6

7    U.S. TRUSTEE - LV - 11
     USTPRegion17.lv.ecf@usdoj.gov
8
     US FIRST CLASS MAIL:
9

10
     Auto Body Specialist, LLC
11   1940 Losee Rd, #150
     North Las Vegas, NV 89030
12
     Carrie Flodter
13   2399 Three Bar Lane
     Norco, CA 92860
14

15   City of Garland Revenue Recovery Dept.
     P.O. Box 462010
16   Garland, TX 75046-2010
17   Clark County Assessor
     c/o Bankruptcy Clerk
18
     POB 551401
19   Las Vegas, NV 89155

20   Condon Thornton Sladek PLLC
     Attn: David N. Condon, Esq.
21   c/o 4400 Bass Pro Drive LLC
22   8080 Park Lane, Suite 700
     Dallas, TX 75231
24
     Dickey's Barbecue Restaurants, Inc.
24   801 E Plano Parkway #135
     Plano, TX 75074
25

26   Garland Power & Light
     Acct No 496010-138858
27   217 N. Fifth Street
     Garland, TX 75040
28


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1    Internal Revenue Service
     PO BOX 7346
2    Philadelphia, PA 19101
3
     Lincoln Equities Group LLC
4    Attn: Berry Mezei
     301 Rt 17 North, 17th Floor
5    Rutherford, NJ 07070
6    Linque Management Co. Inc
7    One Meadows Plaza, Suite 803
     Attn: Sol Berger
8    East Rutherford, NJ 07073

9    Mood Media Corporation
     2100 S. IH 35, Suite 200
10
     Austin, TX 78704
11
     North Star Leasing Company
12   747 Pine Street, Suite 201
     Burlington, VT 05401
13
     North State Bank
14
     Acct No 2013382
15   Attn: An Officer
     6204 Falls of Neuse Road
16   Raleigh, NC 27609
17   Richardson Koudelka
     Two Turtle Creek
18
     3838 Oak Lawn, Suite 450
19   Dallas, TX 75219

20   RYO of Nevada Association Inc
     4295 S Fort Apache, Suite 130
21   Las Vegas, NV 89147
22
     Sage Crossroads LLC
24   5177 Richmond Ave., Suite 1166
     Houston, TX 77056
24
     SBA - Standard 7a Loan Guaranty
25   Processing Center LGPC - CA
26   6501 Sylvan Road, Suite 122
     Citrus Heights, CA 95610
27
     Shaun Martin
28   4295 S Fort Apache #130


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1    Las Vegas, NV 89147
2    Small Business Administration
3    Region IX
     330 N. Brand Blvd, STE 1200
4    Glendale, CA 91203

5    Small Business Administration
     4300 Amon Carter Blvd. Suite 114
6    Fort Worth, TX 76155
7
     State Comptroller of Public Accounts
8    Revenue Accounting Division - BK section
     PO Box 13528
9    Austin, TX 78711
10
     State of NV Dept of Motor Vehicles
11   Attn: Legal Division
     555 Wright Way
12   Carson City, NV 89711

13   State of NV, Dept of Employment
     500 E. Third Street
14
     Carson City, NV 89713
15
     Stearns Bank N.A.
16   4191 2nd Street South
     Attn: An Officer
17   Saint Cloud, MN 56301
18
     Sysco North Texas
19   Acct No 970939
     800 Trinity Drive
20   Lewisville, TX 75056
21   Texas Workforce Commission
22   Regulatory Integrity Division - SAU
     Rm#556
24   101 E. 15th Street
     Austin, TX 78778
24
     The Coca-Cola Company
25   Acct No 601824641
26   PO Box 1578
     Atlanta, GA 30301
27
     U.S. Attorney
28   Attn: Civil Process Clerk - SBA


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1    501 Las Vegas Blvd. South, STE 1100
     Las Vegas, NV 89101
2

3    U.S. Small Business Administration
     409 3rd St., SW
4    Washington, DC 20416

5    /s/ Christopher Craig
     Christopher Craig, EA, LLM, CIRA
6    Paralegal
7

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